     Case: 1:18-cv-05039 Document #: 10 Filed: 08/22/18 Page 1 of 2 PageID #:28



                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

KARLA PENA,                         )
                                    )
          Plaintiff,                )
                                    )                      Case No. 18-cv-05039
          v.                        )
                                    )
PORTFOLIO RECOVERY ASSOCIATES, LLC, )
                                    )
           Defendant.               )



                          NOTICE OF VOLUNTARY DISMISSAL

PLEASE TAKE NOTICE that pursuant to Rule 41(a) (1) (A) (i) of the Federal Rules of Civil
Procedure, the above-titled action against Defendant shall be dismissed with prejudice and on the
merits, with each side to bear its own fees and costs.


Dated: August 21, 2018


                                                           Respectfully submitted,

                                                           /s/ Celetha Chatman
                                                           Celetha C. Chatman



Michael Wood
Celetha Chatman
Community Lawyers Group, Ltd.
73 W. Monroe Street, Suite 514
Chicago, IL 60603
Ph: (312) 757-1880
Fx: (312) 476-1362
mwood@communitylawyersgroup.com
cchatman@communitylawyersgroup.com
     Case: 1:18-cv-05039 Document #: 10 Filed: 08/22/18 Page 2 of 2 PageID #:29




                               CERTIFICATE OF SERVICE

       I, Celetha Chatman, an attorney, hereby certify that on August 21, 2018 a copy of the
foregoing Notice of Service was served upon all parties of record via the court’s CM/ECF
system.


                                                    /s/Celetha C. Chatman
                                                    Celetha C. Chatman



Celetha Chatman
Michael Wood
Community Lawyers Group Ltd.
73 W. Monroe Street, Suite 514
Chicago, IL 60603
Ph: (312) 757-1880
Fx: (312) 265-3227
cchatman@communitylawyersgroup.com
